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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


KINDRED HEALTHCARE, INC.                            )
                                                    )
                          Plaintiff,                )           Civil No.:
                                                    )
                  vs.                               )
                                                    )
ALEX M. AZAR, II                                    )
Secretary, United States Department                 )
of Health and Human Services                        )
200 Independence Avenue, S.W.                       )
Washington, D.C. 20201,                             )
                                                    )
                          Defendant.                )
                                                    )

                           COMPLAINT FOR JUDICIAL REVIEW OF
                             FINAL ADVERSE AGENCY ACTION

           Plaintiff, Kindred Healthcare, Inc., by and through its undersigned attorneys, brings this

action against Defendant, Alex M. Azar, II, in his official capacity as Secretary of the United

States Department of Health and Human Services (“the Secretary”) and states as follows:

I.         Introduction

           1.     Plaintiff brings this action to obtain judicial review of a decision of the Secretary

(the “Secretary’s Decision”), which arbitrarily reversed a partially favorable Medicare

reimbursement decision (the “Board Decision”) rendered by the Provider Reimbursement

Review Board (the “PRRB” or “Board”), the independent administrative appeals panel charged

by statute with resolving Medicare provider reimbursement disputes.

           2.     The Board Decision and the Secretary’s Decision involved Plaintiff’s entitlement

to Medicare reimbursement for certain Medicare “bad debts,” defined as “amounts considered to

be uncollectable” by a health care provider for services furnished to a Medicare beneficiary.

Claims for bad debts typically arise when a beneficiary fails to pay his or her deductible and


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coinsurance amounts, and the Medicare provider is unable to collect these payments from the

beneficiary or other responsible party. In such cases, the Medicare provider can include any

costs attributable to these unpaid and uncollectible deductible and coinsurance amounts in the

provider’s “cost report,” the form submitted by the provider to the Centers for Medicare and

Medicaid Services (“CMS”) (or one of its contractor intermediaries) to seek reimbursement for

services rendered.

           3.    In order to claim unpaid deductibles and coinsurance as “uncollectible” bad debt,

the Medicare provider must demonstrate, inter alia, that it made “reasonable collection efforts”

from the beneficiary, or from any third party that may share responsibility for such amounts.

           4.    Plaintiff’s administrative appeal below challenged the denial of Medicare

reimbursement for bad debts attributable to “Dual Eligible” beneficiaries – that is, (typically

indigent) beneficiaries enrolled in both the Medicare and Medicaid programs, and whose

Medicare deductibles and coinsurance amounts are partially paid for by a state-funded Medicaid

program – who received care at nine of Plaintiff’s Long Term Care Hospitals (“LTCHs”) in

Pennsylvania and Massachusetts, and one skilled nursing facility (“SNF”) in Tennessee, between

2006 and 2014.       The Medicare contractor denied these bad debt claims on the theory that

Plaintiff had failed to demonstrate reasonable efforts to collect from the responsible state

Medicaid programs.

           5.    Specifically, the Medicare contractor concluded that Plaintiff’s facilities failed to

comply with CMS’s “must-bill” policy, which requires providers to bill the relevant state

Medicaid program for Medicare deductibles and coinsurance amounts of Dual Eligible

beneficiaries and to receive a remittance advice (“RA”) explicitly denying payment (in whole or

in part) before the uncollectible amount can be reimbursed as Medicare bad debt.


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           6.    Although providers are not required to enroll in a state’s Medicaid program for

purposes of rendering services to Dual Eligible patients, only a Medicaid-enrolled provider can

submit claims for reimbursement to that state’s Medicaid program and, therefore, only a

Medicaid-enrolled provider can receive an RA from the Medicaid program denying payment.

During the relevant time period, neither Plaintiff’s LTCHs in Pennsylvania and Massachusetts,

nor its SNF in Tennessee, were enrolled in their respective state’s Medicaid program. Further, as

the PRRB noted, prior to January 1, 2012, the Pennsylvania Medicaid program did not even

recognize LTCHs as a facility type eligible for Medicaid enrollment (even though Medicare

recognizes LTCHs).

           7.    The PRRB reversed the Medicare contractor’s decision with respect to bad debt

claims for services rendered by the Pennsylvania LTCHs prior to January 1, 2012. In doing so,

the PRRB reasoned that because the Pennsylvania Medicaid program did not recognize LTCHs

as a Medicaid-eligible facility type prior to 2012, and because the Pennsylvania LTCHs could

not, therefore, enroll in the state’s Medicaid program until 2012, Plaintiff should not be required

to engage in the futile process of attempting to bill the Pennsylvania Medicaid program and

receive an RA. The PRRB concluded that, with regard to this particular subset of pre-2012

claims, the must-bill policy did not apply to Plaintiff’s Pennsylvania LTCHs.

           8.    With respect to the remainder of Plaintiff’s bad debt claims – that is, those

submitted for services rendered by the Tennessee SNF, the Massachusetts LTCHs, and the

Pennsylvania LTCHs after January 1, 2012 – the PRRB affirmed the Medicare contractor’s

decision to deny Plaintiff’s claims. The Board Decision concluded that the Tennessee SNF, the

Massachusetts LTCHs, and, on or after January 1, 2012, the Pennsylvania LTCHs could have

enrolled in their respective states’ Medicaid programs. Accordingly, the PRRB concluded that


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the inability of these providers to bill Medicaid and to obtain an RA did not excuse strict

compliance with the “must-bill” policy.

           9.     The Secretary affirmed the unfavorable portion of the Board Decision and

reversed the PRRB’s favorable holding, concluding that compliance with the “must-bill” policy

is mandatory and that no exceptions can be made. In so ruling, the Secretary departed from

years of federal circuit court decisions rendered on the issue of applying the must-bill policy to

providers unable to enroll in their respective state’s Medicaid program (such as the Pennsylvania

LTCHs). In fact, such case law served as the basis for the favorable portion of the Board

Decision with respect to the Pennsylvania LTCHs. Still, the Secretary flatly disregarded this

Court’s holding that it “is not willing to place a stamp of judicial approval on a policy that puts

non-participating providers in the position of not being paid due to the delinquency of federally-

funded state programs.” Cove Associates Joint Venture d/b/a Life Care Center of Scottsdale v.

Sebelius, 848 F.Supp.2d 13, 28 (2012). The Secretary’s rigid interpretation and enforcement of

the must-bill policy to the claims at issue runs counter to any common-sense application of the

rule.

           10.    What is more, albeit fruitless and futile, the Providers did bill their respective

states’ Medicaid programs for the bad debts at issue in an effort to comply with the must-bill

policy. Despite their best efforts, however, the Providers were unable to force the state Medicaid

agencies to provide them with RAs without Medicaid provider numbers.

           11.    As Medicare providers not enrolled in Medicaid, these facilities “are caught in a

classic Catch-22. They provide services to dual-eligible patients . . . and then attempt to collect

payment for the bad debt incurred as a result of those services. The [fiscal intermediary] refuses




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to reimburse the facilities without a state-issued RA, and the states refuse to issue the RAs.”

Cove, 848 F.Supp.2d at 28.

           12.    The Secretary’s decision to apply the must-bill policy where Providers were not

enrolled, and in some cases could not be enrolled, as Medicaid providers constitutes an arbitrary

and capricious abuse of discretion in violation of the Administrative Procedure Act (“APA”).

The Providers did bill their respective states’ Medicaid programs and have satisfied the

requirements of the must-bill policy to the fullest extent possible, even though the Providers, as

non-participants in the Medicaid program, had no mechanism by which to obtain an RA.

           13.    The Secretary’s decision likewise represents an arbitrary deviation from past

enforcement of the must-bill policy.      Indeed, in a brief filed by the Secretary in Community

Hosp. of Monterey Peninsula v. Thompson, Case No. C-01-0142 (N.D. Cal. Oct. 11, 2001), the

Secretary explicitly exempted from the must-bill policy two types of providers that, similar to the

Pennsylvania LTCHs, were unable to enroll in many states’ Medicaid programs (i.e., community

mental health centers (“CMHCs”) and institutions for mental diseases (“IMDs”)). Moreover,

pursuant to a policy in place from 1995 through 2003, for providers that had not (or could not)

enroll in the Medicaid program, the Secretary previously accepted “alternative documentation”

in lieu of proof that the provider billed the Medicaid program.

           14.    Furthermore, the Secretary himself (through CMS) is responsible for approving

each state’s Medicaid program and establishing the programs’ criteria for operation, including

those programs excluding LTCHs from Medicaid enrollment and non-participating providers

from billing and obtaining RAs.          The Secretary reviewed and approved the State of

Pennsylvania’s Medicaid program, including its exclusion of LTCHs as participating providers.

Pennsylvania’s approved program offers no means for non-participating providers to bill the


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state and obtain an RA. Likewise, the approved assistance programs in Massachusetts and

Tennessee offer no mechanism for non-enrolled providers to bill those states and obtain RAs. In

fact, there is no requirement that Medicare participating providers enroll in any particular state’s

Medicaid program. See 42 C.F.R. Parts 482 and 483. Thus, for the Secretary to now require the

Providers to bill each state’s program and produce RAs to support crossover bad debts is

illogical, arbitrary, and capricious.

           15.    Participation in the Medicaid program is not legally required. See Spectrum

Health Continuing Care Group v. Anna Marie Bowling Irrecoverable Trust, 410 F.3d 304, 313

(6th Cir. 2005) (“A health-care provider is not required to participate in the Medicaid program,

but rather voluntarily contracts with the state to provide services to Medicaid-eligible patients in

return for reimbursement from the state at the specified rates.”). Providers need not enroll in a

state Medicaid program as a condition of participation in Medicare. See 42 C.F.R. Parts 482-83.

Likewise, there is no legal requirement that a provider must be enrolled in a state Medicaid

program to be reimbursed for bad debts. See 42 U.S.C. § 1395x(v)(1)(A); 42 C.F.R. § 413.89.

           16.    A bad debt reimbursement scheme whereby a Medicare provider is required to

enroll in a state Medicaid program, even when the state Medicaid program does not permit such

enrollment, and even when the Medicare program does not require such enrollment as a

condition of participation, is fundamentally unfair and inconsistent with the purpose of 42 U.S.C.

§ 1395x(v)(1)(A), which entitles Medicare providers to reimbursement for the reasonable cost of

caring for Medicare beneficiaries. That providers do not participate in Medicaid should not

foreclose them from payment of Medicare bad debts for dual-eligible patients. If CMS wishes

for providers that do not participate in Medicaid to follow the “must-bill” policy, CMS must first

advise state Medicaid agencies that they are required to develop mechanisms for providing RAs


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to those providers when asked. Until then, application of the must-bill policy to those providers

is arbitrary and capricious.

           17.    Regardless, the must-bill policy is invalid.   Despite the Secretary’s position,

neither the Social Security Act, the Medicare regulations governing bad debt reimbursement, nor

CMS’s interpretive guidance on this issue contain any language requiring the Providers to bill

Medicaid to collect on debt owed by a Dual Eligible beneficiary.

           18.    Likewise, requiring providers who do not participate in their state Medicaid plan

to bill and receive RAs from their state plan as proof of reasonable collection efforts represents

an invalid change in policy because such a rule was not in effect prior to August 1, 1987. As

such, the must-bill rule violates the “Bad Debt Moratorium,” 42 U.S.C. § 1395f (notes section),

which prohibits the Secretary from imposing new or different bad debt criteria on a provider

after August 1, 1987. Congress passed the Bad Debt Moratorium to put a stop to the Secretary’s

inconsistent actions pertaining to bad debt reimbursement, and to prevent the Secretary from

forcing providers to change their policies regarding indigency determinations by withholding

reimbursement for bad debts. Because the must-bill rule constitutes a change in policy put in

place after the Bad Debt Moratorium had gone into effect, the must-bill policy is invalid,

unenforceable, and inapplicable to Plaintiff’s claims for bad debt reimbursement.

II.        Jurisdiction and Venue

           19.    This action arises under Title XVIII of the Social Security Act, 42 U.S.C. § 1395

et seq., which establishes the Medicare program, and the Administrative Procedure Act (“APA”),

5 U.S.C. § 551 et seq.

           20.    This Court has jurisdiction under 42 U.S.C. § 1395oo(f), which grants Medicare

providers the right to seek judicial review of a final decision of the PRRB or a final decision of

the Secretary affirming, modifying, or reversing the PRRB’s decision.
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           21.    Venue lies in this judicial district pursuant to 42 U.S.C. § 1395oo(f)(1), which

permits actions for judicial review of final decisions by the PRRB to be brought in the United

States District Court for the District of Columbia.

III.       The Parties

           22.    Plaintiff, Kindred Healthcare, Inc., is a Louisville, Kentucky-based corporation

that owns and operates long-term care facilities nationwide.

           23.    During the periods at issue, Plaintiff owned and operated the facilities whose

claims for Medicare bad debt reimbursement are at issue here, including nine LTCHs located in

Pennsylvania (the “Pennsylvania LTCHs”) and Massachusetts (the “Massachusetts LTCHs”), as

well as one SNF located in Tennessee (the “Tennessee SNF”). The Pennsylvania LTCHs

participated in the Medicare program as providers of services under Medicare Provider Nos. 39-

2042, 39-2043, 39-2027, 39-2028, 39-2032, 39-2049, and 39-6110. The Massachusetts LTCHs

participated in the Medicare program as providers of services under Medicare Provider Nos. 22-

2044 and 22-2045. The Tennessee SNF participated in the Medicare program as a provider of

services under Medicare Provider No. 44-5140.

           24.    Defendant Alex M. Azar, II is the current Secretary of the Department of Health

and Human Services (“HHS”). The Secretary is the federal officer responsible for the

administration of the Medicare and Medicaid programs. References to the Secretary herein are

meant to refer to him, his subordinate agencies and officials, and his official predecessors or

successors as the context requires.

           25.    The Secretary has delegated considerable responsibility for the administration of

the Medicare and Medicaid programs to CMS, an agency within HHS. Before July 2001, CMS

was known as the Health Care Financing Administration (“HCFA”). See 66 Fed. Reg. 35,437

(July 5, 2001).
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IV.        Overview of Medicare, Medicaid, and Dual-Eligible Patients.

           26.    Congress enacted both the Medicare program and the Medicaid program in the

Social Security Amendments of 1965, Pub. L. No. 89-97, §§ 102(a), 121(a).

           27.    The Medicare program is a federally funded program established to provide

health insurance for the aged, the disabled, and individuals afflicted with end-stage renal disease.

See 42 U.S.C. §§ 426, 426-1, 1395 et seq.

           28.    The Medicaid program is a joint state and federally funded program established to

furnish medical assistance under state plans to, among others, families with dependent children

and aged, blind, or disabled individuals, “whose income and resources are insufficient to meet

the costs of necessary medical services.” 42 U.S.C. § 1396-1.

           29.    The Medicare program consists of four main parts. Part A, at issue here, provides

coverage for the costs of hospital services, related post-hospital services, home health, and

hospice care. 42 U.S.C. §§ 1395c-1395i-5. This includes skilled nursing services. 42 U.S.C. §

1395f(a)(2)(B).

           30.    LTCHs and SNFs may participate in the Medicare program as “providers” of

services by entering into a “provider agreement” with the Secretary. 42 U.S.C. §§ 1395cc,

1395x(u). During the period at issue here, CMS contracted with private insurance companies to

act as “fiscal intermediaries” (“Intermediaries”) and assist in the day-to-day operations of the

Medicare program. 42 U.S.C. § 1395h. Intermediaries determine the payment to be made to a

provider based on audits of annual cost reports submitted by the provider. 42 C.F.R. § 413.20.

Intermediaries are responsible for reviewing the cost report and issuing a Notice of Program

Reimbursement (“NPR”), which sets forth the amount of allowable Medicare payments. 42

C.F.R. § 405.1803.


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           31.     Individuals who qualify for both health insurance benefits under the Medicare

program and medical assistance benefits under a state Medicaid plan – a group mostly composed

of elderly low-income individuals – are commonly known as “dual eligible” individuals. (Such

“dual eligible” individuals are hereinafter referred to in this Complaint as “Dual Eligible

Patients.”) In many cases, Dual Eligible Patients cannot afford Medicare Part A deductibles and

coinsurance payments.       For this reason, CMS allows states to use Medicaid dollars to pay the

cost-sharing obligations of Dual Eligible Patients. 42 U.S.C. § 1396a(a)(10)(E)(i). Specifically,

Medicaid plans provide medical assistance for Medicare cost-sharing for a particular category of

Dual Eligible Patients called “Qualified Medicare Beneficiaries” (“QMBs”). Id.; see also 42

U.S.C. § 1396d(p)(1) & (3). The amount paid under the state Medicaid plan for a QMB’s

Medicare coinsurance or deductible may be limited by a payment ceiling, and the state is not

required to make any payment when the amount paid under Medicare exceeds the payment

amount that would otherwise be paid under the state plan if the service were provided to an

individual eligible for Medicaid who is not a QMB. See 42 U.S.C. § 1396a(n)(2). When a

provider furnishes covered services to a QMB, the Medicare program serves as the patient’s

primary payor, while state Medicaid plans serve as the secondary payor.

V.         Background Regarding Medicare Reasonable Cost Reimbursement and Payment to
           LTCHs and SNFs.

           32.     Prior to July 1, 1998, the Medicare program paid SNFs and LTCHs for furnishing

care to Medicare beneficiaries based on a retrospective determination of the facilities’

“reasonable cost,” as defined in the Secretary’s regulations and identified in a provider’s annual

cost report. Thereafter, pursuant the Balanced Budget Act of 1997, Congress required the

Secretary to implement a prospective payment system under which facilities are reimbursed

through prospectively-fixed rates. 42 U.S.C. § 1395yy(e); 42 C.F.R. § 413.300 et seq.

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           33.     However, certain other Medicare payments continued to be retrospectively

determined and reimbursed on a “reasonable cost” basis, including the unpaid deductible and

coinsurance obligations of Medicare beneficiaries at issue here (i.e., “bad debt”). 42 C.F.R. §

413.89(a), (h). The Secretary’s regulations define “bad debt” as “amounts considered to be

uncollectible from accounts and notes receivable that were created or acquired in providing

services.” 42 C.F.R. § 413.89(b)(1); see also Provider Reimbursement Manual (“PRM”) §

302.1.       The regulations further define “accounts receivable” and “notes receivable” as

“designations for claims arising from the furnishing of services, and are collectible in money in

the relatively near future.” Id.

           34.     Unpaid patient obligations in general are treated as reductions in revenue rather

than reimbursable “costs” of furnishing care. 42 C.F.R. § 413.89(a), (c). However, because the

Medicare statute provides that the Secretary’s regulations may not result in the costs of

Medicare-covered services being shifted to non-Medicare patients (or their payers), see 42

U.S.C. § 1395x(v)(1)(A)(i), the regulations provide for reimbursement of Medicare bad debts so

that the costs of Medicare services covered by such amounts are not borne by other patients. 42

C.F.R. § 413.89(d). This policy is known as the prohibition against cost-shifting or cross-

subsidization.

VI.        Payment for Medicare Bad Debts Attributable to Dual Eligible Patients

           35.     The regulation governing Medicare bad debt reimbursement provides that a bad

debt must meet the following criteria to be allowable:

           (1)     The debt must be related to covered services and derived from deductible
                   and coinsurance amounts.

           (2)     The provider must be able to establish that reasonable collection efforts
                   were made.

           (3)     The debt was actually uncollectible when claimed as worthless.
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           (4)     Sound business judgment established that there was no likelihood of
                   recovery at any time in the future.

42 C.F.R. § 413.89(e).

           36.     CMS has provided sub-regulatory guidance regarding the reimbursement of

Medicare bad debts in Part I of the PRM. For instance, PRM § 310 provides guidance concerning

the requirement for a reasonable collection effort referenced in subsection (e)(2) of the

regulation.

           37.     A provider does not have to engage in the reasonable collection effort described

in PRM § 310 if the provider determines that the patient is indigent. See PRM § 312. Section 312

of the Manual states that providers can deem Medicare beneficiaries to be indigent “when such

individuals have also been determined eligible for Medicaid as either categorically needy

individuals or medically needy individuals, respectively.” PRM § 312.

           38.     Uncollectible amounts attributable to the deductibles and coinsurance owed by

Dual Eligible Patients that are not otherwise paid by a state Medicaid plan qualify as Medicare

bad debts and are to be included as allowable Medicare costs reimbursable to the Medicare

provider. See PRM § 322.

           39.     With regard to unpaid deductibles and coinsurance for services furnished to Dual

Eligible Patients, CMS adopted a policy that a provider had to bill a state Medicaid program and

receive a remittance advice denying payment before the provider could claim the bad debt on a

cost report. This rule has been referred to as the “must-bill” policy.

           40.     The must-bill policy was not, however, applied in all cases to all providers, and

historically was not an absolute bar to reimbursement of Medicare bad debts attributable to Dual

Eligible beneficiaries. CMS has made exceptions to the must-bill policy where providers were

unable to bill the state Medicaid program because they were not permitted to enroll as Medicaid

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providers and obtain a Medicaid provider number. CMS also permitted the use of alternative

documentation to support a provider’s reasonable collection effort. Cost reporting instructions in

Part II of the PRM reiterated this longstanding policy. See PRM § 1102.3.L (prior to revision by

PRM, Chap. 11, Transmittal No. 5).

           41.     In the late 1980s, Congress passed a series of statutory provisions that restrict

Medicare’s ability to disallow a provider’s Medicare bad debts based on changes in requirements

for Medicare bad debts. Omnibus Budget Reconciliation Act (“OBRA”) of 1987, Pub. L. No.

100-203, § 4008(c), 101 Stat. 1330-55, as amended by Technical and Miscellaneous Revenue

Act of 1988, Pub. L. No. 100-647, § 8402, 102 Stat. 3798 and by OBRA 1989, Pub. L. No.

101¬239, § 6023, 103 Stat. 2167, 42 U.S.C. § 1395f note.            These statutory provisions are

commonly referred to as the “Bad Debt Moratorium.”

           42.     Contrary to the Bad Debt Moratorium, CMS reversed its longstanding policy

allowing exceptions to the must-bill rule and provided that unpaid Medicare deductibles and

coinsurance for Dual Eligible Patients were not reimbursable by Medicare as bad debts until the

provider billed the state Medicaid program and the state refused payment with a remittance

advice. CMS Joint Signature Memorandum No. 370 (August 3, 2004) (“JSM-370”). In JSM-

370, CMS further provided that Intermediaries could no longer accept alternative documentation

to remittance advices from a state Medicaid plan, effective for cost reporting periods beginning

on or after January 1, 2004. CMS also revised its cost reporting instructions that referred to use

of alternative documentation for bad debts related to Dual Eligible Patients. PRM, Chap. 11,

Transmittal No. 5 (Sept. 12, 2003).

           43.     CMS has taken the position that state Medicaid plans must reimburse providers

for any Medicare cost sharing for Dual Eligible Patients that is due under the payment


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methodology set forth under the particular state’s Medicaid plan. Since the issuance of JSM-

370, CMS has also stated that states must furnish all Medicare providers a process by which they

can enroll in the state Medicaid program for purposes of having such claims processed.

VII.       Pennsylvania’s Medicaid Program Did Not Permit LTCHs to Enroll Prior to
           January 1, 2012.

           44.     Prior to 2012, the state of Pennsylvania did not permit LTCHs to enroll as

providers in the Pennsylvania Medicaid program. At that time, Pennsylvania did not recognize

or reimburse LTCHs, including, but not limited to, the LTCHs owned and operated by Plaintiff

in Pennsylvania. As such, prior to 2012, LTCHs were unable to bill the Pennsylvania Medicaid

program for services rendered to Pennsylvania Medicaid beneficiaries.

           45.     Prior to 2012, the Pennsylvania Medicaid program also refused to accept and

process claims from LTCHs for payment of the Medicare coinsurance or deductibles for services

furnished to Dual Eligible beneficiaries. Pennsylvania Medicaid refused to issue remittance

advices (“RAs”) for said claims, even when such RAs would demonstrate denial of payment for

Medicare coinsurance and deductibles of Dual Eligible beneficiaries.

           46.     Despite its policy statements described in Paragraphs 43 and 44 above, CMS did

not take, and has not taken, any enforcement action against the Pennsylvania Medicaid program

to compel the state to provide a process by which Medicare-participating LTCHs may enroll in

the state’s Medicaid program, obtain Medicaid billing privileges, or acquire a Medicaid provider

number so that such LTCHs may submit claims to Medicaid for unpaid Medicare coinsurance

and deductible amounts for Dual Eligible beneficiaries. CMS has not taken action to ensure that

the Pennsylvania Medicaid program processes such claims and provides RAs to LTCHs, even

though CMS proclaims that states are obligated to do so.



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VIII. Medicare Cost Report and Appeals Process

           47.     After the close of each fiscal year, a provider submits a cost report to its

Intermediary to identify the provider’s reasonable costs and the portion of those costs that are

allocable to Medicare patients for that fiscal year, also referred to as the cost reporting period.

See In re Medicare Reimbursement Litigation, Baystate Health System v. Thompson, 309 F.

Supp. 2d 89, 92 (D.D.C. 2004); 42 C.F.R. § 413.20(b). The Intermediary analyzes the cost

report and issues an NPR that informs the provider of the Intermediary’s final determination of

the provider’s Medicare reimbursement for the cost reporting period. Baystate Health System,

309 F. Supp. 2d at 92; see also 42 C.F.R. § 405.1803.

           48.     A provider may appeal to the PRRB if the provider is dissatisfied with an

Intermediary’s determination in an NPR as to the amount of Medicare payment due the provider

for a cost reporting period. 42 U.S.C. § 1395oo(a); 42 C.F.R. § 405.1835.

           49.     The PRRB is an independent administrative tribunal comprised of five members

appointed by the Secretary. 42 U.S.C. § 1395oo(h). The PRRB must comply with “all provisions

of title XVIII of the Act” and the Secretary’s “regulations issued thereunder.” 42 C.F.R.

§ 405.1867.

           50.     The PRRB is authorized to make substantive decisions concerning Medicare

reimbursement issues and to decide questions relating to its jurisdiction. 42 C.F.R. § 405.1873.

A decision of the PRRB disposing of an appeal on substantive or jurisdictional grounds

constitutes a final administrative decision of the Secretary unless the Secretary reverses, affirms,

or modifies the decision within 60 days of the provider’s notification of the Board’s decision. 42

U.S.C. § 1395oo(f)(1); 42 C.F.R. §§ 405.1875, 405.1877.




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           51.     The Secretary has delegated his authority under the statute to review PRRB

decisions to the Administrator of CMS. A decision of the CMS Administrator to reverse, affirm,

or modify the PRRB’s decision constitutes the final administrative decision of the Secretary.

           52.     A provider may obtain judicial review of a final decision of the PRRB, or a final

decision of the CMS Administrator upon review of a PRRB decision, by filing an action within

60 days of the provider’s receipt of the decision in the United States District Court for the

judicial district in which the provider is located or in the United States District Court for the

District of Columbia. 42 U.S.C. § 1395oo(f).

           53.     The statute provides that judicial review of a final administrative decision of the

Secretary shall be “pursuant to the applicable provisions under” the APA. 42 U.S.C.

§ 1395oo(f)(1).

           54.     The applicable provisions under the APA provide that the reviewing court may set

aside agency action that exceeds an agency’s statutory authority or that is contrary to law,

arbitrary, capricious, an abuse of discretion, unsupported by substantial evidence, or otherwise

not in accordance with law. 5 U.S.C. § 706.

IX.        Facts Specific to this Case and Plaintiff’s Claims

           55.     The providers at issue herein include Medicare-participating LTCHs located in

Pennsylvania and Massachusetts, together with one SNF located in Tennessee (collectively, the

“Providers”).      During the relevant time period, the Providers rendered medically necessary

services to patients enrolled in both Medicare and Medicaid, otherwise known as Dual Eligible

Patients.

           56.     For each of the Medicare bad debt claims at issue, the patient was a Dual Eligible

Patients. Medicare paid its portion of the amount due to the Providers, leaving a copayment or

coinsurance due from the beneficiary. As Medicaid recipients, however, these Dual Eligible
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Patients were, by definition, indigent. As a result, these beneficiaries could not afford to pay

their Medicare copayment or coinsurance, and the Providers were not required to attempt to

collect these amounts from these Dual Eligible Patients.

           57.     During the relevant time period, none of the Providers was enrolled in its

respective state’s Medicaid program.

           58.     Seven of the Providers are LTCHs located in Pennsylvania. Prior to 2012, the

Pennsylvania Medicaid program did not permit LTCHs to participate in Medicaid. When the

Pennsylvania LTCHs attempted to enroll, the Pennsylvania Department of Public Welfare

returned the Providers’ applications, confirming that the Office of Medical Assistance Programs

did not have regulatory guidelines for LTCHs and that the Medicaid program, therefore, did not

recognize LTCHs as an established provider type or specialty. For this reason, prior to 2012,

although enrolled providers were directed to bill Pennsylvania Medicaid using specified forms,

no mechanism existed for non-enrolled providers to bill the Medicaid program.

           59.     From the time the Pennsylvania LTCHs began participating in the Medicare

program, through fiscal year 2011, the Pennsylvania LTCHs were unable to obtain a Medicaid

provider number or billing privileges from the Pennsylvania Medicaid program in order to

submit claims to Medicaid for the unpaid Medicare coinsurance or deductibles for medically

necessary LTCH services that the providers had furnished to their Dual Eligible beneficiaries.

For this reason, the Pennsylvania LTCHs were incapable of having their claims processed or

receiving a “remittance advice” from the Medicaid program.

           60.     Similarly, neither Massachusetts nor Tennessee offer any mechanism by which a

non-participating provider could submit claims for Medicare copayments or coinsurance owed

by Medicaid for Dual Eligible beneficiaries. Thus, because neither Massachusetts LTCHs, nor


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the Tennessee SNF, was enrolled in their respective state’s Medicaid program, none of these

providers could submit claims to Medicaid. For this reason, the Massachusetts LTCHs and the

Tennessee SNF were also incapable of having their claims processed or receiving a “remittance

advice” from the Medicaid program.

           61.     The Providers’ Intermediary, Wisconsin Physician Services, denied the Providers’

Medicare bad debt claims for Dual Eligible beneficiaries for fiscal years 2006 through 2014. (At

the time of the 2006 fiscal year adjustments, the fiscal intermediary for the Providers was Mutual

of Omaha. On September 5, 2007, Wisconsin Physician Services was named the Medicare

Administrative Contractor for the Providers, with the exception of Kindred Hospital South

Philadelphia, which has Novitas Solutions as its fiscal intermediary.)

           62.     The Intermediary’s denial was based upon its position that in order to claim

Medicare bad debts on their cost reports, the Providers were required to bill their respective state

Medicaid programs and receive a “remittance advice” denying Medicaid reimbursement pursuant

to the must-bill policy. The Intermediary applied this position even where the providers had not

enrolled, and in some cases could not have enrolled, in the Medicaid program and therefore

could not bill Medicaid and obtain an RA.              The Intermediary’s disallowances totaled

approximately $10,104,651.

           63.     The Providers appealed the Intermediary’s denial to the PRRB. On November 20,

2017, in a unanimous decision, the PRRB issued a partially-favorable decision, upholding the

Intermediary’s decision with respect to the Massachusetts LTCHs and the Tennessee SNF and as

to the Pennsylvania LTCHs for fiscal years 2012 through 2014, and reversing the Intermediary’s

decision with respect to Medicare bad debt adjustments of the Pennsylvania LTCHs for fiscal

years 2006 through 2011. As to the latter group, the PRRB reasoned that, because LTCHs could


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not enroll in the Pennsylvania Medicaid program prior to 2012, an exception to the must-bill

policy should be applied.

           64.     The PRRB held that, like the LTCHs in Cove Associates Joint Venture v.

Sebelius, 848 F.Supp.2d 13, 28 (D.D.C. 2012), the Pennsylvania LTCHs “appear to be caught in

a ‘Catch-22’” in that they “were told to comply with the Medicare ‘must bill’ policy even though

they were unable to do so because billing privileges for the Pennsylvania Medicaid program was

contingent on enrollment in that program and, as LTCHs, they could not enroll in the state

Medicaid program.”

           65.     With respect to the Medicare bad debt claims relating to Massachusetts LTCHs

and Tennessee SNF, and relating to the Pennsylvania LTCHs for fiscal years 2012 through 2014,

the PRRB concluded that the Intermediary’s disallowance was proper. The PRRB reasoned that

because these Providers could have enrolled in their state’s respective Medicaid programs during

the relevant time periods, the obligations of the must-bill policy still applied. The PRRB came to

this conclusion despite the fact that enrollment in a state’s Medicaid program is not a prerequisite

for rendering services to Dual Eligible beneficiaries in that state and despite the fact that none of

the Providers was enrolled with the respective state’s Medicaid program during the relevant time

periods and therefore could not have billed Medicaid and obtained a RA.

           66.     The Secretary has delegated his authority to review PRRB decisions to the

Administrator of CMS.

           67.     On December 8, 2017, CMS issued a letter to Plaintiff’s undersigned counsel

notifying Plaintiff that the Administrator of CMS had decided to review the Board’s Decision.

           68.     On December 21, 2017, the Director for the Chronic Care Policy Group of the

Center for Medicare issued a memorandum to the Director of CMS’s Office of the Attorney


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Advisor stating that the Center for Medicare concurred with the PRRB to the extent its decision

upheld the Intermediary’s denial.         However, the memorandum stated that the Center for

Medicare disagreed with the PRRB’s decision to reverse the Intermediary’s disallowance with

respect to pre-2012 Medicare bad debt claims submitted by the Pennsylvania LTCHs.

           69.     The Administrator for CMS reversed the favorable portion of the Board Decision

and reinstated the Intermediary’s full denial of reimbursement for the Providers’ Medicare bad

debts based solely upon their alleged failure to bill Medicaid and receive remittance advices to

comply with the must-bill policy.            The Administrator stated that, with respect to the

Pennsylvania LTCHs prior to 2012, their appropriate course would have been to sue their

respective states for their failure to comply with the Secretary’s policies:

           If a State does not have the ability to process dual eligible beneficiary claims for
           all types of Medicare providers, then the State is out of compliance with the
           Federal statute and the state must be forced to comply. Where States are made
           aware of their duty and still refuse to enroll Providers for the purpose of billing
           and receiving remittance advices, or otherwise refuse to process non-enrolled
           providers’ claims, then the appropriate course would be for the Provider to take
           legal action with their State.

CMS Administrator Decision at 23-24.

           70.     Although the Administrator demands that the Providers sue their respective state

governments to force compliance with federal law, he concedes that “CMS may be in a better

position to enforce Federal law,” and that CMS itself has the ability to take legal action against

states which, inter alia, prevent Medicare-certified healthcare providers from enrolling in the

state’s Medicaid program.        For instance, CMS, upon providing a non-compliant state with

reasonable notice and the opportunity for a hearing, “can penalize a State by withholding funds.”

Id. at 24, n. 33.




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           71.     The decision of the Administrator constitutes the Secretary’s final determination

on the issue in dispute for the Providers’ fiscal years in question.

           72.     The Administrator’s decision was sent by mail to the Plaintiff’s counsel under

cover of a letter from the CMS Office of the Attorney Advisor dated January 19, 2018. The

Plaintiff’s counsel received that letter and the accompanying decision of the Administrator

several days later. Plaintiff timely filed this action within 60 days of the Providers’ receipt of the

Administrator’s decision.

           73.     The Administrator’s decision is arbitrary, capricious, an abuse of discretion, not in

accordance with the law, unsupported by the record, and in excess of the Administrator’s

authority, within the meaning of the APA, 5 U.S.C. § 706(2), in that the rigid application of the

“must-bill” policy is not necessary, lacks legal authority, violates the Bad Debt Moratorium, and

contravenes the statutory prohibition on cost-shifting and the statutory and regulatory

requirement that Medicare reimburse providers for expenses actually incurred serving Medicare

beneficiaries, among other things.

           74.     The Administrator’s decision is arbitrary, capricious, an abuse of discretion, not in

accordance with the law, and unsupported by the record, in that the Administrator failed to

examine the relevant data and articulate any rational connection between the facts found and the

decisions made. The Administrator’s decision is not supported by substantial evidence in the

record before the PRRB, and improperly relies on evidence not in the record before the PRRB.

           75.     The Administrator’s decision is arbitrary, capricious, an abuse of discretion, and

not in accordance with the law, in that the Administrator gave no weight to the Secretary’s abject

failure over many years to compel state Medicaid programs to comply with what the Secretary

proclaims are statutory obligations to process Medicare providers’ claims for unpaid Medicare


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deductibles and coinsurance for Dual Eligible beneficiaries. See Paragraphs 69 and 70, supra.

Instead, the Administrator irrationally imposes upon individual Medicare providers the

obligation to pursue legal action against the state to compel the processing of such claims that the

Administrator deems to be a prerequisite for bad debt reimbursement.

           76.     The Administrator’s decision is arbitrary and capricious in that the

Administrator’s own agency, CMS, which rigidly applies a requirement that Medicare providers

bill state Medicaid programs and obtain remittance advices for unpaid Medicare deductibles and

coinsurance, has failed to make any serious effort to enforce the requirement that state Medicaid

agencies accept and process such claims.

           77.     The Administrator’s decision violates the Due Process Clause of the Fifth

Amendment to the United States Constitution by denying the Providers Medicare payments

provided under statute and regulation based on alleged requirements that are legally impossible

to fulfill and/or with which Providers have had no opportunity to comply

X.         Requested Relief

           78.     Plaintiff requests judgment in its favor with an order providing the following

relief:

           (a)     declaring that the Secretary’s Decision is contrary to law, arbitrary and capricious,

                   an abuse of discretion, and unsupported by substantial evidence;

           (b)     reversing and vacating the Secretary’s Decision and remanding Plaintiff’s appeal

                   with directions that the favorable portion of the Board Decision, pertaining the

                   Pennsylvania LTCHs’ pre-2012 Medicare bad debt claims, be reinstated and

                   affirmed, and that the unfavorable portion of the Board Decision, pertaining to the

                   Tennessee SNF, the Massachusetts LTCHs, and the Pennsylvania LTCHs’ post-

                   2012 Medicare bad debt claims, be reversed;
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           (c)     requiring the Secretary promptly to reimburse Plaintiff’s Providers for their

                   Medicare bad debts attributable to Dual Eligible Patients, plus interest calculated

                   in accordance with 42 U.S.C. § 1395oo(f)(2);

           (d)     legal fees and costs of suit incurred by Plaintiff; and

           (e)     such other relief as the Court may consider appropriate.

Dated: March 21, 2018                                        Respectfully submitted,

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